The complaint alleges that the defendant was negligent in leaving dynamite unprotected on its premises and that it thereby created and maintained a nuisance and because of such negligence and nuisance the plaintiff was injured. It does not appear that the plaintiff was a trespasser on the defendant's premises.
Everyone owes a legal duty to every other person, unless the other be a trespasser or a mere licensee on his property to conduct himself with reasonable care to avoid injury to the other and not to maintain any nuisance which will injure the other. For that reason this complaint states a cause of action which is not demurrable.
Whether or not the defendant in this case was negligent or maintained a nuisance and if so whether that was the proximate cause of the plaintiff's injuries is a question of fact which may not be decided on a demurrer.
   The demurrer is overruled.